     ELLEN F. ROSENBLUM
     Attorney General
     JAMES S. SMITH #840932
     SHANNON M. VINCENT #054700
     Senior Assistant Attorneys General
     Department of Justice
     1162 Court Street NE
     Salem, OR 97301-4096
     Telephone: (503) 947-4700
     Fax: (503) 947-4791
     Email: James.S.Smith@doj.state.or.us
            Shannon.M.Vincent@doj.state.or.us

     Attorneys for Defendants



                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON


     MICHALE WRIGHT a/k/a MICHELLE                           Case No. 6:16-cv-01998-MC
     WRIGHT,
                                                             DECLARATION OF STEVE SHELTON IN
                       Plaintiff,                            SUPPORT OF DEFENDANTS SHELTON,
                                                             RUSSELL, GULICK, VANCLEAVE AND
                                                             JENNINGS' MOTION FOR PARTIAL
              v.                                             SUMMARY JUDGMENT BASED ON
                                                             QUALIFIED IMMUNITY
     COLETTE S. PETERS, Director, Oregon
     Department of Corrections, in her official
     capacity; STEVEN SHELTON, M.D., Chief
     Medical Officer, Oregon Department of
     Corrections, in his individual and official
     capacities; JANA RUSSELL, Administrator,
     Behavioral Health Services, Oregon
     Department of Corrections, in her individual
     and official capacities; LORI VANCLEAVE,
     M.A., QMPH Behavioral Health Services,
     Oregon Department of Corrections, in her
     individual and official capacities; DARCI JO
     JENNINGS, LCSW, QMPH Behavioral
     Health Services, Oregon Department of
     Corrections, in her individual and official
     capacities; GARTH GULICK, M.D., Medical
     Services, Oregon Department of Corrections,
     in his individual and official capacities,
                       Defendants.

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           RUSSELL, GULICK, VANCLEAVE AND JENNINGS' MOTION FOR PARTIAL
           SUMMARY JUDGMENT BASED ON QUALIFIED IMMUNITY
           JSS/c4m/8229218-v1                        Department of Justice
                                                     1162 Court Street NE
                                                    Salem, OR 97301-4096
                                             (503) 947-4700 / Fax: (503) 947-4791
              I, Steve Shelton, M.D., declare:

              1.       I am a licensed doctor in Oregon, having been licensed continually to practice

     since October 10, 1983. I have worked as a physician with inmates since 1983, and was the

     Clinical Director for the Oregon Department of Corrections (“ODOC”) from January 1993 to

     May 1, 2017. I make this declaration in support of Defendants Shelton, Russell, Gulick,

     VanCleave and Jennings’ Motion for Partial Summary Judgment Based on Qualified Immunity.

              2.       Plaintiff Wright is an inmate in the custody of ODOC, and is a male to female

     transgender. She entered the prison system in the fall of 2013 and has been housed at several

     different facilities. She is currently housed at the Oregon State Penitentiary Mental Health

     Infirmary (“OSP/MHI”).

              3.       Attached to this Declaration as Ex. 1 is the most recent version of the World

     Professional Association for Transgender Health Standards of Care (“WPATH”).

              4.       Plaintiff Wright was diagnosed with Gender Dysphoria January 4, 2015. At the

     same time, Wright was being treated for other significant mental health issues, including

     Borderline Personality Disorder.

              5.       Treatment decisions concerning hormones and sexual reassignment surgery for

     transgender inmates are made by the Gender Non-conforming Committee (“GNC”). QMPHs

     and treatment doctors at the various ODOC institutions do not have authority to make treatment

     decisions concerning the initiation of hormone therapy or gender reassignment surgery, and did
     not make such treatment decisions for inmate Wright. In the individual case of inmate Wright,

     GNC was aware of her desire and demands for hormone treatment, but decided not to treat with

     hormones when the initial diagnosis of gender dysphoria was made, because hormones have

     irreversible impacts and can have unintended consequences. Instead, Wright was first provided

     with commonly accepted reversible, non-invasive treatments such as feminine clothing,

     cosmetics and support therapy, which often serve to decrease dysphoria symptoms. Efforts were


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